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                                                         UNITED STATES DISTRICT COURT
                                                       FOR THE DISTRICT OF RHODE ISLAND

  Charlene Liberty et al
                                                  Plaintiff(s)
                                                                                       Case No.: 19-cv-00573
                                         v.
  RI Department of Corrections, et al
                                                  Defendant(s)


                                                            MOTION FOR ADMISSION PRO HAC VICE

                 I,   Anne M. Mulready                                        , am a member in good standing of the bar of this

 Court. I am moving for the admission of Attorney                           Amy Fettig                                        to
                                                 Plaintiffs
 appear pro hac vice in this case as counsel for _______________________________________________.

                 I certify that I have reviewed the below information provided by the prospective admittee. I

 acknowledge and agree to observe the requirements of LR Gen 204 in its entirety and as it relates to the

 participation and responsibilities of local counsel.

 LOCAL COUNSEL:
  Anne M. Mulready                                                              s/ Anne M. Mulredy
 Name                                                                           Signature
  # 4738                                                                        10/25/2019
 Bar Number                                                                     Date
  Disability Rights Rhode Island                                                (401) 831-3150
 Firm/Agency                                                                    Telephone Number
  33 Broad St., Suite 601                                                       (401) 274-5568
 Address                                                                        Fax Number
  Providence, RI 02903                                                          amulready@drri.org
 City, State, Zip Code                                                          E-mail Address


                                                       To be completed by the Prospective Admittee
 I am a member in good standing of the bar of every state and federal court to which I have been admitted,
 and my eligibility to practice before those courts has not been restricted in any way (list courts below.)
   State or Federal Court        Admission Date               State or Federal Court         Admission Date
United States Court of Appeals for the Seventh Circuit                                 District of Columbia
United States Court of Appeals for the Ninth Circuit

United States District Court for the District of Columbia      11/06/2006
                   New York
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                           To be completed by the Prospective Admittee

If you answer yes to any of the below questions, you must provide a full explanation as an attachment.

Have you ever been disciplined or sanctioned by any court or other                    YES           NO
body having disciplinary authority over attorneys?                                                   ✔
Are there any disciplinary proceedings pending against you at this                    YES           NO
time?                                                                                                ✔
                                                                                      YES           NO
Has your pro hac vice status ever been revoked by any court?                                         ✔
Excluding traffic violations punishable by fine only, have you ever                   YES           NO
been convicted of, or entered a plea of no contest to, any crime?                                    ✔
                                                                                      YES           NO
Are there any criminal charges pending against you at this time?
                                                                                                     ✔

                                      Certification and Signature

For the purpose of this case, I have associated with local counsel identified in this motion, and have read,
acknowledge, and will observe the requirements of this Court respecting the participation of local
counsel, as set out in LR Gen 204, recognizing that failure to do so may result in my being disqualified,
either upon the Court’s motion or motion of other parties in the case.
I understand my obligation to notify this Court of any changed circumstances that affect my answers to
the questions contained within this motion.
I have read, acknowledge, and agree to observe and be bound by the local rules and orders of this Court,
including the Rules of Professional Conduct of the Rhode Island Supreme Court, as adopted by this Court
as the standard of conduct for all attorneys appearing before it. I hereby certify that the foregoing is true
and correct.

Respectfully submitted,

PROSPECTIVE ADMITTEE:
Amy Fettig                                                 /s Amy Fettig
Name                                                      Signature
ACLU                                                       (202) 548-6608
Firm/Agency                                               Telephone Number
915 15th St. NW, 7th Floor                                 (202) 393-4931
Address                                                   Fax Number
Washington, D.C. 20005                                     AFettig@aclu.org
City, State, Zip Code                                     E-mail Address




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